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                                                                           CHARLES H. CHEVALIER
                                                                           Director

                                                                           Gibbons P.C.
                                                                           One Gateway Center
                                                                           Newark, New Jersey 07102-5310
                                                                           Direct: (973) 596-44611 Fax: (973) 639-6263
                                                                           cchevalier@gibbonslaw.com




                                                              January 13, 2021


  VIA ECF

  Hon. Claire C. Cecchi, U.S.D.J.
  United States District Court
  District of New Jersey
  Martin Luther King, Jr. Federal Building
  & U.S. Courthouse
  50 Walnut Street
  Newark, New Jersey 07102

             Re: In re Biogen ’755 Patent Litigation – Civil Action No. 10-2734 (CCC)(MF)


  Dear Judge Cecchi:

         We, along with Gibson, Dunn & Crutcher LLP, represent Defendants EMD Serono, Inc.
  and Pfizer Inc. in the above-referenced matter. We write in response to Biogen’s letter (ECF No.
  1115) regarding the proposed final judgment (ECF Nos. 1110, 1111).

          It has now been almost three years since the jury in this case, after a five-week trial,
  returned its unanimous verdict in favor of Serono and Pfizer, concluding that all claims of
  Biogen’s U.S. Patent No. 7,588,755 (the “’755 patent”) are invalid for anticipation. On
  September 28, 2020, the Federal Circuit issued its unanimous opinion “revers[ing] the district
  court’s grant of judgment as a matter of law of no anticipation and the conditional grant of a new
  trial on anticipation,” and “remand[ing] with instructions to reinstate the jury verdict on
  anticipation.” Biogen MA Inc. v. EMD Serono, Inc., 976 F.3d 1326, 1337 (Fed. Cir. 2020). The
  Federal Circuit denied Biogen’s subsequent petition for rehearing and, on December 28, 2020,
  the appellate mandate issued to this Court. ECF No. 1109; Biogen MA Inc. v. EMD Serono, Inc.,
  No. 19-1133, ECF No. 99 (Fed. Cir. Dec. 18, 2020).

         Biogen now asks the Court to “stay” the entry of judgment for at least six months. ECF
  No. 1115. Biogen’s request should be denied for at least three reasons.

          First, this Court has no jurisdiction to consider—much less grant—Biogen’s request.
  Article III prohibits this Court from taking any judicial action in the absence of a “case or
  controversy” between the parties. Already, LLC v. Nike, Inc., 568 U.S. 85, 90 (2013) (quoting
  DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 341 (2006)) (“In our system of government,
  courts have ‘no business’ deciding legal disputes or expounding on law in the absence of such a
  case or controversy.”). Because the Federal Circuit has affirmed the jury’s verdict that all claims
  of the ’755 patent are invalid, there is no remaining controversy between the parties, and this

  Newark New York Trenton Philadelphia Wilmington                              gibbonslaw.com
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  Court has no power to do anything other than enter judgment on the verdict pursuant to the
  Federal Circuit’s directive. See, e.g., MD Security Solutions, LLC v. Protection 1, Inc., Case No.
  6:15-CV-1968-PGB-GJK, ECF No. 49 at 5 (M.D. Fla. Sept. 26, 2017) (holding that because the
  asserted patent claims were found invalid by the Patent Trial and Appeal Board, “[t]here is no
  live case or controversy for the Court to resolve”).

          Second, the Court has no authority to ignore the Federal Circuit’s mandate instructing
  entry of judgment on the verdict—which is what Biogen is asking the Court to do. The Federal
  Circuit has made clear that “[t]he mandate rule requires that the district court follow an
  appealable decree as the law of the case.” See, e.g., Cardiac Pacemakers, Inc. v. St. Jude Med.,
  Inc., 576 F.3d 1348, 1356–57 (Fed. Cir. 2009) (reversing the district court after it failed to
  reinstate the jury verdict of no invalidity despite the appeals court’s prior mandate to do so). The
  mandate rule is “compulsory,” and “a district court is without choice in obeying the mandate of
  the appellate court.” In re Roberts, 846 F.2d 1360, 1363 (Fed. Cir. 1988); see also, e.g., M. D.
  by Stukenberg v. Abbott, 977 F.3d 479, 481 (5th Cir. 2020) (“District courts do not have
  discretion to ignore mandates issued by this court.”); Sibbald v. United States, 37 U.S. 488, 492
  (1838) (“The inferior court is bound by the decree as the law of the case; and must carry it into
  execution, according to the mandate.”); Blasband v. Rales, 979 F.2d 324, 328–29 (3rd Cir. 1992)
  (quoting Delgrosso v. Spang & Co., 903 F.2d 234, 237 (3d Cir. 1990)) (“[M]andamus should be
  granted . . . ‘when a district court has failed to adhere to an appellate court mandate.’”); Litman
  v. Massachusetts Mut. Life Ins. Co., 825 F.2d 1506, 1508 (11th Cir. 1987) (citing, e.g., In re
  Sanford Fork & Tool Co., 160 U.S. 247, 255 (1895)) (“Appellate courts have the power to issue
  mandates which are commands that cannot be ignored.”).

           On remand from an appellate court, this Court’s authority is limited to fulfilling its
  “obligation to implement” the mandate of the higher court. See United States v. Fumo, 513 F.
  App’x 215, 218 (3d Cir. 2013) (internal quotation marks and citation omitted); United States v.
  Mesa, 247 F.3d 1165, 1170 (11th Cir. 2001) (“If the appeals court issues a specific mandate, the
  district court must obey: the mandate is not subject to interpretation.”). “From the earliest days
  of the republic, and continuing through today, the Supreme Court has ‘consistently held that an
  inferior court has no power or authority to deviate from the mandate issued by an appellate
  court.’” United States v. Kennedy, 682 F.3d 244, 252–53 (3d Cir. 2012) (quoting Briggs v.
  Pennsylvania R. Co., 334 U.S. 304, 306 (1948)) (holding that the district court violated, and
  “ventured beyond,” “the scope of [the appeals court’s] mandate”); see also Seese v.
  Volkswagenwerk, A.G., 679 F.2d 336, 337 (3d Cir. 1982) (“The district court is without
  jurisdiction to alter the mandate of this court on the basis of matters included or includable in
  defendants’ prior appeal.”). “A trial court must implement both the letter and spirit of the
  mandate, taking into account the appellate court’s opinion and the circumstances it embraces.”
  Kennedy, 682 F.3d at 253 (quoting Bankers Trust Co. v. Bethlehem Steel Corp., 761 F.2d 943,
  949 (3d Cir. 1985)) (internal quotation marks omitted); see also In re A.F. Moore & Associates,
  Inc., 974 F.3d 836, 840 (7th Cir. 2020) (quoting Moore v. Anderson, 222 F.3d 280, 283 (7th Cir.
  2000)) (“Under the mandate rule, ‘when a court of appeals has reversed a final judgment and
  remanded the case, the district court is required to comply with the express or implied rulings of
  the appellate court.’”); Amado v. Microsoft Corp., 517 F.3d 1353, 1360 (Fed. Cir. 2008) (“The
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  mandate rule provides that issues actually decided on appeal—those within the scope of the
  judgment appealed from, minus those explicitly reserved or remanded by the court—are
  foreclosed from further consideration.”).

          Third, Rule 41(d) of the Federal Rules of Appellate Procedure sets forth the exclusive
  procedure for seeking a stay of an appellate mandate. That Rule requires that a motion for stay
  be filed with the Federal Circuit (or the Supreme Court)—not the district court. Only the
  Federal Circuit or the Supreme Court can stay an appellate mandate. See, e.g., William A.
  Graham Co. v. Haughey, 794 F. Supp. 2d 566, 569 (E.D. Pa. 2011) (“It is simply not the proper
  role of a district court to decide whether a judgment of a higher court should be stayed pending
  possible review by the Supreme Court, and Rule 62(d) and [28 U.S.C.] § 2101(f) do not provide
  the district court with such authority.”); Ventas, Inc. v. HCP, Inc., No. 3:07-CV-238, 2011 WL
  3678819, at *2 (W.D. Ken. Aug. 22, 2011) (“The federal courts have consistently relied upon
  [28 U.S.C. ] § 2101(f) for the rule that district courts lack jurisdiction to stay the execution of an
  appellate court judgment.”); Merchant v. Fairfax County, No. 1:10-cv-376, 2012 WL 12830388,
  at *1 (E.D. Va. Sept. 18, 2012) (quoting United States v. Lentz, 352 F. Supp. 2d 718, 725 (E.D.
  Va. 2005)) (“The relevant statute, 28 U.S.C. § 2101(f), makes clear that the authority to stay a
  circuit court’s mandate ‘belongs exclusively to the circuit court or to a justice of the Supreme
  Court.’”). Having failed to file a timely motion in the proper court under Rule 41, Biogen has
  forfeited any such relief in any court.

          In accordance with the Federal Circuit’s mandate, this Court should enter final judgment
  on the jury’s verdict forthwith. See Fed. R. Civ. P. 58 advisory committee’s note (1963) (“Rule
  58 is designed to encourage all reasonable speed in formulating and entering the judgment when
  the case has been decided.”) (emphasis supplied).


                                                        Respectfully,


                                                        s/ Charles H. Chevalier


  cc: Counsel of record via ECF and email
